Case 3:03-cr-00159-G       Document 107    Filed 10/13/05     Page 1 of 5    PageID 374



                       UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION




LINDA TATUM,                                 )
                                             )              CIVIL ACTION NO.
             Petitioner,                     )
                                             )              3:04-CV-1997-G
VS.                                          )
                                             )              CRIMINAL ACTION NO.
UNITED STATES OF AMERICA,                    )
                                             )              3:03-CR-159-G
             Respondent.                     )




                     MEMORANDUM OPINION AND ORDER


      Before the court are the findings, conclusions, and recommendation

(“findings”) of the United States Magistrate Judge, filed August 31, 2005, and the

objections to the findings (“objections”) of the petitioner Linda Tatum (“Tatum”),

filed September 12, 2005.

      In her objections, Tatum argues that the magistrate judge erred in 1) finding

that Tatum’s claim of ineffective assistance of counsel in relation to entering her plea

agreement should be summarily dismissed because Tatum waived this right; 2) citing

a Fifth Circuit case that is without precedential value; and 3) finding that Tatum’s

claim that her plea was unsupported by consideration should fail on the merits.

Objections at 2-4.
Case 3:03-cr-00159-G      Document 107      Filed 10/13/05    Page 2 of 5    PageID 375



                          I. Ineffective Assistance of Counsel

      An ineffective assistance of counsel claim may be raised for the first time in a

28 U.S.C. § 2255 motion. See Massaro v. United States, 538 U.S. 500, 509 (2003).

In this circuit, however, “an informed and voluntary waiver of post-conviction relief is

[generally] effective to bar such relief.” United States v. Wilkes, 20 F.3d 651, 653 (5th

Cir. 1994) (per curiam). To date, the Fifth Circuit has recognized one exception to

this general rule: an ineffective-assistance claim survives a § 2255 waiver, but “only

when the claimed [ineffective] assistance directly affected the validity of that waiver

or the plea itself.” United States v. White, 307 F.3d 336, 343 (5th Cir. 2002). Here,

Tatum argues that “her trial counsel was ineffective for advising her to enter a plea

agreement by which he protected himself from any allegations of ineffective assistance

of counsel and caused her to give up her important appellate rights in exchange for

nothing.” Memorandum of Law in Support of Movant’s Petition Under 28 U.S.C.

§ 2255 (“Memorandum”) at 7 (emphasis in original).

      As stated in the magistrate judge’s findings, “an informed and voluntary waiver

of post-conviction relief is effective to bar such relief.” Wilkes, 20 F.3d at 653. Using

Fifth Circuit caselaw, this court specifically found that Tatum voluntarily and

knowingly entered her plea of guilty. October 24, 2003 Memorandum Order

(“October 24 Order”) (discussing United States v. Carr, 740 F.2d 339 (5th Cir. 1984),

cert. denied, 471 U.S. 1004 (1985)). Although Tatum argues that this is an instance



                                          -2-
Case 3:03-cr-00159-G      Document 107      Filed 10/13/05     Page 3 of 5    PageID 376



in which she may “avoid a waiver on the limited grounds that the waiver of appeal

itself was tainted by ineffective assistance of counsel,” Objections at 2 (citing White,

307 F.3d at 339), this is not such a situation. Tatum’s only basis for claiming

ineffective assistance was that her counsel advised her to accept a plea agreement for

which she allegedly received no consideration. Memorandum at 7. However, as

explained below, Tatum in fact did receive consideration. Since this alleged

ineffective assistance does not go to the validity of her plea, Tatum cannot avoid her

waiver. White, 307 F.3d at 343; see also United States v. Henderson, 72 F.3d 463, 465

(5th Cir. 1995). In addition, as explained in the court’s October 24 order, the court

was thoroughly convinced that Tatum entered her plea agreement, containing a

waiver of appellate relief, knowingly and voluntarily. October 24 Order at 6.

Therefore, Tatum’s knowing and voluntary acceptance of her agreement and the

waiver of appellate relief contained therein bars her claim of ineffective assistance of

counsel. Tatum’s objection on this ground is overruled.

                   II. Citation of Case Without Precedential Value

       Tatum also argues that the Carr test applied by the court for withdrawal of

plea agreements is inapplicable when the agreement itself is void for lack of

consideration. In his objections, counsel for Tatum argues that the magistrate judge’s

citation of a Fifth Circuit case rejecting a similar claim is without precedential value.

Objections at 4 (citing United States v. Howard, No. 03-31048, 2004 WL 1431041



                                           -3-
Case 3:03-cr-00159-G     Document 107      Filed 10/13/05     Page 4 of 5    PageID 377



(5th Cir. June 25, 2004) (per curiam); U. S. CT. OF APP. 5TH CIR. R. 47.5.4).

Although this is true, this court agrees with the Fifth Circuit’s per curiam decision. In

fact, Fifth Circuit Rule 47.5.4 goes on to state that, although such opinions are not

precedent, “[a]n unpublished opinion may, however, be persuasive.” U. S. CT. OF

APP. 5TH CIR. R. 47.5.4. Finding Howard to be persuasive, the court concludes that

Tatum’s objections are without merit.

                       III. Plea Unsupported by Consideration

      In an abundance of caution, the magistrate judge addressed the merits of

Tatum’s argument and found that she, in fact, received consideration for her plea.

Tatum contends that the magistrate judge erred in this finding. As noted in the

magistrate judge’s findings, Tatum’s plea agreement includes a provision in which the

government agreed not to “bring any additional charges against Tatum based upon

the conduct underlying and related to [her] plea of guilty.” Plea Agreement ¶ 8.

Other circuits have found such an agreement to be sufficient consideration for a

guilty plea or waiver of appeal rights. See United States v. Woolley, 123 F.3d 627, 636-

37 (7th Cir. 1997) (holding that, along with other concessions, government’s

agreement to not bring any additional charges arising from the series of events leading

to plea was consideration received by defendant for appeal waiver); United States v.

Creighton, No. 01-30167, 2002 WL 31689125, at *1 (9th Cir. Dec. 2, 2002)

(rejecting defendant’s contention that he received no consideration for entering into



                                          -4-
Case 3:03-cr-00159-G      Document 107      Filed 10/13/05    Page 5 of 5     PageID 378



the plea agreement where, among other things, the government agreed that it would

not pursue any additional charges).

      Despite the magistrate judge’s conclusion that Tatum received consideration,

Tatum objects that the consideration is illusory because the conduct which the

government agreed not to prosecute was considered when Tatum’s sentence was

determined under the United States Sentencing Guidelines. Objections at 3. The

court disagrees. Although the court considered all relevant conduct when Tatum was

sentenced, the government’s agreement prevented the pursuit of additional charges

arising from Tatum’s conduct. If the government had not agreed to this provision,

additional charges and imprisonment were possible. As a result, the government’s

agreement is not illusory and amounts to consideration for Tatum’s waiver of her

right to appeal. Tatum’s objection is therefore overruled.

      With the additional observations set forth above, the court is satisfied, after a

review of the record, that the findings of the magistrate judge are correct. It is

therefore ordered that those findings, with the additional comments made herein, are

ADOPTED as the findings and conclusions of the court.

      SO ORDERED.


October 13, 2005.




                                           -5-
